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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF MONTANA

                               BUTTE DIVISION

UNITED STATES OF AMERICA,      )             CR 12-06-BU-DLC
                               )
               Plaintiff,      )
                               )
     vs.                       )             ORDER
                               )
LUCAS W. MULVAUGH,             )
                               )
               Defendant.      )
______________________________ )

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on September 13, 2012. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313



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(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Lucas W. Mulvaugh’s guilty

plea after Mulvaugh appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered his plea of guilty to one count of conspiracy to maintain

drug-involved premises in violation of 21 U.S.C. § 846 and 856(a)(1), as set forth

in the Superseding Information. Defendant further agrees to the forfeiture of cash

proceeds in the amount of $50,000 as specified in the Plea Agreement, but if that

amount is not paid as specified then Defendant agrees to enter a concession to a

money judgment in the amount of $466,000 as specified in the Plea Agreement. In

exchange for Defendant’s plea, the United States has agreed to dismiss the

Indictment previously filed in this matter.

      I find no clear error in Judge Lynch’s Findings and Recommendation (doc.

93), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS HEREBY ORDERED that Lucas W. Mulvaugh’s

motion to change plea (doc. 85) is GRANTED.

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DATED this 23rd day of October, 2012.




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